Case 5:13-cr-50027-TLB Document 72   Filed 03/11/14 Page 1 of 2 PageID #: 336



                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                        FAYETTEVILLE DIVISION



CRIMINAL NO. 13-50027-004               USA   v. GUSTAVO RODRIGUEZ-
                                        QUIJADA

COURT PERSONNEL:                        APPEARANCES:

Judge: JIMM LARRY HENDREN               Govt. CLAY FOWLKES

Clerk: GAIL GARNER                      Deft. TIM SNIVELY

Reporter: THERESA SAWYER                Interpreter: DEBBIE ANDRADE



                      SENTENCING MINUTE SHEET

     On this date the above-named defendant appeared in person and
with counsel for sentencing and is sworn.

     (X)   Inquiry made that defendant is not under influence of
           alcohol or drugs and is able to comprehend proceedings.
     (X)    Inquiry made whether defendant is under the care of a
           physician or taking any medication and is able to
           comprehend proceedings.
     (X)   Inquiry made that defendant is satisfied with counsel.
     (X)   Court determined that defendant and counsel have had
           opportunity to read and discuss presentence investigation
           report.
     (X)   Presentence investigation report reviewed in open court.
     (X)   Court expresses final approval of plea agreement.
     (X)   Government moves for downward departure pursuant to
           5K1.1 - granted by the court and 2-level departure
           awarded.
     (X)   Attorney for government afforded opportunity to make
           statement to court.
     (X)   Counsel for defendant afforded opportunity to speak on
           behalf of defendant.
     (X)   Defendant afforded opportunity to make statement and
           present information in mitigation of sentence.
     (X)   Court proceeded to impose sentence as follows:

           30 months imprisonment; 1 year supervised release;
           $6,000.00 fine - interest waived.
Case 5:13-cr-50027-TLB Document 72   Filed 03/11/14 Page 2 of 2 PageID #: 337



Criminal No. 13-50027-004


     (X)   Defendant ordered to pay total special assessment of
           $100.00 for Count 9, which shall be due immediately.
     (X)   Defendant advised of right to appeal sentence imposed.
     (X)   Defendant advised of right to apply for leave to appeal
           in forma pauperis.
     (X)   Counts 1, 6-8, and forfeiture allegation dismissed
           on motion by the government.
     (X)   Defendant remanded to custody of USMS.



DATE: MARCH 11, 2014                    Proceeding began:       9:32 AM

                                                      ended: 10:02 AM
